                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,     *
                               *    CRIMINAL NO. LO-19-0449
     v.                        *
                               *
 KENNETH WENDELL RAVENELL,     *    UNDER SEAL
                               *
                  Defendant.   *
                               *
                             *******

                            GOVERNMENT’S MOTION TO SEAL

       The United States of America, by and through undersigned counsel, moves this Court to

seal the Government’s Motion to Continue Trial Until After the Special Master’s Review is

Completed and Additional Charges Are Returned dated February 25, 2020. The Government has

filed its motion under seal because it addresses issues in matters sealed by this Court and the Fourth

Circuit, including 19-MJ-2155-TCB (D.Md) and 19-1730 (4th Cir.), and a grand jury investigation.

The Government submits that disclosure of its motion will violate other court orders sealing certain

documents, and may thwart an ongoing criminal investigation by leading individuals to engage in

additional obstructive conduct, destroy evidence, and flee from prosecution.

                                               Respectfully submitted,

                                               Robert K. Hur
                                               United States Attorney

                                               /s/
                                       By:     _____________________
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